Fill in this information to identify your case and this filing:


Debtor 1           Moses Dolz
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        __________
United States Bankruptcy Court for the: Western District of Pennsylvania
                                                     District of ___________

Case number          23-70022
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

2IILFLDO)RUP 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    ✔
        No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
Debtor 1      Moses  Dolz
              _______________________________________________________                                                        23-70022
                                                                                                      Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                             (see instructions)
                                                                 
                                                                  At least one of the debtors and another

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                             0.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................Î




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   ✔No
   
    Yes

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                     ______________
                                                                 
                                                                  Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________                                                                       Current value of the      Current value of the
                                                                 
                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                             entire property?          portion you own?
                                                                 
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                     ______________
                                                                 
                                                                  Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________                                                                       Current value of the      Current value of the
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




2IILFLDO)RUP$%                                             Schedule A/B: Property                                                                   page 2
Debtor 1         Moses  Dolz
                 _______________________________________________________                                                                             23-70022
                                                                                                                              Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                            
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________                                                                                              Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                          entire property?                portion you own?
                                                                            
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                            
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________                                                                                              Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                          entire property?                portion you own?
                                                                            
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ✔ No
   
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model: ____________________                                      
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model: ____________________                                      
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                               0.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ Î




2IILFLDO)RUP$%                                                         Schedule A/B: Property                                                                                         page 3
Debtor 1          Moses  Dolz
                  _______________________________________________________                                                                                         23-70022
                                                                                                                                           Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   ✔
       No
       Yes. Describe. ........                                                                                                                                                                 $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   ✔
       No
       Yes. Describe. .........                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   ✔ No
   
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ✔
       No
       Yes. Describe. .........                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ✔ No
   
    Yes. Describe. ..........                                                                                                                                                                  $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   ✔
       Yes. Describe. ..........        personal clothing                                                                                                                                                   200.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   ✔
       Yes. Describe. ..........                                                                                                                                                                            100.00
                                                                                                                                                                                                $___________________
                                         Watch
13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   ✔
       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   ✔
       No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                                 300.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... Î



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 4
Debtor 1          Moses  Dolz
                  _______________________________________________________                                                                                                        23-70022
                                                                                                                                                          Case number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
 ✔
     Yes ................................................................................................................................................................    Cash: .......................                 10.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   ✔
      Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            Dollar bank
                                                                                               _________________________________________________________                                                                       6.00
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   ✔ No
                                           Name of entity:                                                                                                                     % of ownership:
   
     Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




2IILFLDO)RUP$%                                                                         Schedule A/B: Property                                                                                                          page 5
Debtor 1        Moses   Dolz
                 _______________________________________________________                                                        23-70022
                                                                                                         Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 
   Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   ✔
      No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:       ___________________________________________________________________        $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
   ✔
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                 Keystone Performance LLC & Bryan Mellinger
                                                              ______________________________________________________________________                      6,400.00
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


2IILFLDO)RUP$%                                                       Schedule A/B: Property                                                        page 6
Debtor 1        Moses   Dolz
                 _______________________________________________________                                                             23-70022
                                                                                                              Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ✔
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ✔
      No
      Yes. Give specific information                                                                                        Federal:                           0.00
                                                                                                                                                   $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                             0.00
                                                                                                                                                   $_________________
            and the tax years. .......................                                                                                                          0.00
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ✔
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                               0.00
                                                                                                                                                       $________________
                                                                                                                            Maintenance:                           0.00
                                                                                                                                                       $________________
                                                                                                                            Support:                               0.00
                                                                                                                                                       $________________
                                                                                                                            Divorce settlement:                    0.00
                                                                                                                                                       $________________
                                                                                                                            Property settlement:                   0.00
                                                                                                                                                       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ✔
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



2IILFLDO)RUP$%                                                       Schedule A/B: Property                                                                page 7
Debtor 1          Moses  Dolz
                  _______________________________________________________                                                                                         23-70022
                                                                                                                                           Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   ✔
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   ✔
       No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
   ✔
       Yes. Describe each claim. ....................
                                                                     Keystone Performance LLC/Bryan Mellinger damage & Deposits                                                                              8,000.00
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
       No
   ✔
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

       No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .................................................................................................................................................... Î                6,416.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   ✔
       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

 ✔
      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   ✔
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 8
Debtor 1          Moses   Dolz
                   _______________________________________________________                                                                                        23-70022
                                                                                                                                           Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ✔ No
   
    Yes. Describe .......                                                                                                                                                                     $_____________________


41. Inventory
   
   ✔ No
    Yes. Describe .......                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures
   ✔ No
   
    Yes. Describe .......               Name of entity:                                                                                                           % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
 
 ✔ No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
         No
         Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
   
   ✔ No
    Yes. Give specific                  ______________________________________________________________________________________                                                                 $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... Î




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ✔ No. Go to Part 7.
   
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



2IILFLDO)RUP$%                                                                 Schedule A/B: Property                                                                                                 page 9
 Debtor 1            Moses  Dolz
                     _______________________________________________________                                                                                            23-70022
                                                                                                                                                 Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested
     ✔
          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     ✔
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

     ✔
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
 ✔
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... Î



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ✔
          No
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. Î
                                                                                                                                                                                                                        0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. Î
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                              0.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                     300.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                               6,416.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                          0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                 0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
62. Total personal property. Add lines 56 through 61. ....................                                                6,716.00 Copy personal property total Î
                                                                                                                  $________________                                                                                6,716.00
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                        6,716.00
                                                                                                                                                                                                          $_________________


 2IILFLDO)RUP$%                                                                     Schedule A/B: Property                                                                                                   page 10
Fill in this information to identify your case:

 Debtor 1           MOSES DOLZ
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: __WESTERN   DISTRICT
                                          __________ District      OF PENNSYLVANI
                                                              of __________

 Case number          23-70002
                     ___________________________________________                                                                             Check if this is an
  (If known)
                                                                                                                                                amended filing



2IILFLDO)RUP 106C
Schedule C: The Property You Claim as Exempt                                                                                                              /1

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:            Watch
                             _________________________       100.00
                                                            $________________             $ ____________                        ____________________________
                                                                                         ✔ 100% of fair market value, up to
                                                                                                                                ____________________________
      Line from
                    12
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:            Personal clothing
                             _________________________       200.00
                                                            $________________             $ ____________                        ____________________________
                                                                                         ✔ 100% of fair market value, up to
                                                                                                                                ____________________________
      Line from
                    11
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________             $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


  Are you claiming a homestead exemption of more than $1?
     (Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           ✔
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
Debtor 1      MOSES DOLZ
             _______________________________________________________                                                 23-70002
                                                                                              Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


2IILFLDO)RUP&                                    Schedule C: The Property You Claim as Exempt                                            2 of __
                                                                                                                                         page ___
Fill in this information to identify your case:

 Debtor 1          MOSES DOLZ
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: WESTERN
                                         __________DISTRICT      OF PENNSYLVANIA
                                                    District of __________

 Case number         23-70002
                     ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


2IILFLDO)RUP 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
       Yes. Fill in all of the information below.

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. (QWHU that number here:                                            0.00
                                                                                                                           $________________


2fficial Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
Debtor 1        MOSES    DOLZ
                _______________________________________________________                                                       23-70002
                                                                                                       Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                    Do not deduct the
             by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                        Contingent
   ______________________________________               Unliquidated
   City                         State    ZIP Code
                                                        Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
     Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit

     Check if this claim relates to a
                                                        Other (including a right to offset) ____________________
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

                                                                                                              0.00
           Add the dollar value of your entries in Column A on this page. (QWHU that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.                                   0.00
           (QWHU that number here:                                                                                  $_________________

2IILFLDO)RUP'                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
Debtor 1     MOSES    DOLZ
             _______________________________________________________                                                   23-70002
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



2IILFLDO)RUP'                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
  Fill in this information to identify your case:

      Debtor 1          MOSES DOLZ
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________ District of __________
                                              WESTERN DISTRICT        OF PENNSYLVANIA

      Case number         23-70022
                          ___________________________________________
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 2IILFLDO)RUP106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
            Domestic support
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___               19,000.00 $___________
                                                                                                                                  $_____________ 19,000.00$____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________                   Contingent
           City                                State    ZIP Code
                                                                       ✔
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
           ✔
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only                           ✔
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                 No                                                      Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
 Debtor 1          MOSES     DOLZ
                    _______________________________________________________                                                       23-70022
                                                                                                           Case number (if known)_____________________________________
                    First Name    Middle Name          Last Name


 Part 1:           Your PRIORITY Unsecured Claims Ʌ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                       intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                       intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                       intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


2IILFLDO)RUP()                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
 Debtor 1           MOSES    DOLZ
                    _______________________________________________________                                                  23-70022
                                                                                                      Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       CAPITAL ONE
       _____________________________________________________________                                               2 ___
                                                                                  Last 4 digits of account number ___ 3 ___
                                                                                                                         8 ___
                                                                                                                            7
       Nonpriority Creditor’s Name
                                                                                                                                                                  1,800.00
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           01/01/2022
                                                                                                                        ____________
       BOX 71083
       _____________________________________________________________
       Number            Street

       CHARLOTTE                           NC         28272
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       ✔
             Debtor 1 only                                                       ✔
                                                                                     Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       ✔
             No                                                                  ✔
                                                                                                     credit card
                                                                                      Other. Specify ______________________________________
             Yes

4.2    EXACT SCIENCES LABORATORIES                                                                                  1 ___
                                                                                  Last 4 digits of account number ___  3 ___
                                                                                                                           1 ___
                                                                                                                              7                                     681.00
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           11/01/2022
                                                                                                                        ____________
       145 E BADGER ROAD
       _____________________________________________________________
       Number            Street
       MADISON                             WI         53713                       As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       ✔
             Debtor 1 only
                                                                                  
                                                                                  ✔   Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       ✔
             No
                                                                                  ✔
                                                                                                     medical
                                                                                      Other. Specify ______________________________________

             Yes

4.3
       EXCELA HEALTH
       _____________________________________________________________                                                3 ___
                                                                                  Last 4 digits of account number ___   6 ___
                                                                                                                            7 ___1                                  110.00
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?            11/01/2022
                                                                                                                        ____________
       165 Caprice Ct Unit B
       _____________________________________________________________
       Number            Street
       Castle Rock                         CO         80109
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
       ✔ Debtor 1 only
                                                                                    Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       ✔ No
                                                                                 ✔
                                                                                                     medical
                                                                                      Other. Specify ______________________________________
        Yes


2IILFLDO)RUP()                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___
 Debtor 1          MOSES    DOLZ
                   _______________________________________________________                                                   23-70022
                                                                                                      Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim



      LOWES / SYNCHRONY BANK                                                                                        5 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          6 ___
                                                                                                                             8                                1,600.00
      _____________________________________________________________                                                                                        $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          01/01/2022
                                                                                                                        ____________
      Box 530914
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Atlanta                             GA         30353
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            ✔
                                                                                      Disputed
      
      ✔ Debtor 1 only
       Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                                    Student loans
       At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      ✔ No
      
       Yes



      Bryan Mellinger c/o Stewart McArdle Whalen Finoli                                                             0 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          1 ___
                                                                                                                             6                             $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          04/06/2021
                                                                                                                        ____________
      229 S Maple
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Greensburg                          PA         15601
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                   ✔
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            ✔
                                                                                      Disputed
       Debtor 1 only
       Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                                    Student loans
      ✔ At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              ✔
                                                                                                     default judgment-disputed claim
                                                                                       Other. Specify________________________________
       No
      ✔ Yes
      

                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes




2IILFLDO)RUP()                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
 Debtor 1      MOSES    DOLZ
               _______________________________________________________                                                  23-70022
                                                                                                 Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


2IILFLDO)RUP()                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
Debtor 1    MOSES    DOLZ
            _______________________________________________________                                                 23-70022
                                                                                             Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim



Total claims
                6a. Domestic support obligations                                6a.                   19,000.00
                                                                                        $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                      19,000.00
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   + $_________________________
                                                                                                       4,191.00


                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                        4,191.00
                                                                                         $_________________________




2IILFLDO)RUP()                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       page __ of ___
 Fill in this information to identify your case:

 Debtor               MOSES DOLZ
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                         WESTERNDistrict
 United States Bankruptcy Court for the: __________ DISTRICT  OF PENNSYLVANIA
                                                         of ________

 Case number            23-70022
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


2IILFLDO)RUP 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      ✔
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
 Debtor 1     MOSES     DOLZ
               _______________________________________________________                                     23-70022
                                                                                     Case number (if known)_____________________________________
               First Name   Middle Name       Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                What the contract or lease is for

    2
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code



2IILFLDO)RUP*                        Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
 Fill in this information to identify your case:

 Debtor 1          MOSES DOLZ
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         WESTERNDistrict
 United States Bankruptcy Court for the: __________ DISTRICT  OF PENNSYLVANIA
                                                         of ________

 Case number         23-70022
                     ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

2IILFLDO)RUP 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔
          No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1      Laurel M Clark-Barlock
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         269 Armond Road                                                                                  ✔Schedule E/F, line ______
                                                                                                                              4.5
         ________________________________________________________________________________
         Number            Street                                                                          Schedule G, line ______
         Latrobe                                  PA                    15650
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
 Debtor 1        MOSES    DOLZ
                 _______________________________________________________                 Case number         23-70022
                                                                                                       (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                               Schedule D, line ______
                                                                                              Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                  Schedule G, line ______
        ________________________________________________________________________________
        City                                        State                   ZIP Code




2IILFLDO)RUP+                                          Schedule H: Your Codebtors                                               page ___ of ___
 Fill in this information to identify your case:


 Debtor 1           MOSES     DOLZ
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Western District
                                         __________       of Pennsylvania
                                                      District of ___________

 Case number          23-70022
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
2IILFLDO)RUP 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status              Employed                                       Employed
    employers.                                                         ✔ Not employed
                                                                                                                       Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                   __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             __________________________________           __________________________________


                                         Employer’s address          _______________________________________    ________________________________________
                                                                      Number Street                              Number    Street

                                                                     _______________________________________    ________________________________________

                                                                     _______________________________________    ________________________________________

                                                                     _______________________________________    ________________________________________
                                                                      City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?          _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.           0.00
                                                                                              $__________                    0.00
                                                                                                                     $____________




Official Form 106I                                               Schedule I: Your Income                                                      page 1
Debtor 1         MOSES    DOLZ
                 _______________________________________________________                                                                           23-70022
                                                                                                                            Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here............................................................................................... Î 4.             0.00
                                                                                                                            $___________                     0.00
                                                                                                                                                    $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________            $_____________
     5e. Insurance                                                                                                 5e.     $____________            $_____________
     5f. Domestic support obligations                                                                              5f.     $____________            $_____________

     5g. Union dues                                                                                                5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.             0.00
                                                                                                                           $____________                     0.00
                                                                                                                                                    $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________            $_____________
     8e. Social Security                                                                                           8e.         2,065.00
                                                                                                                           $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

     8g. Pension or retirement income                                                                              8g.     $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         2,065.00
                                                                                                                           $____________                     0.00
                                                                                                                                                    $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                               2,065.00
                                                                                                                           $___________     +                0.00
                                                                                                                                                    $_____________     =        2,065.00
                                                                                                                                                                           $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                                2,065.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


2IILFLDO)RUP,                                                                  Schedule I: Your Income                                                                  page 2
   Fill in this information to identify your case:

   Debtor 1          MOSES DOLZ
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Western District
                                           __________       of Pennsylvania
                                                       District of __________                                       expenses as of the following date:
                                                                                                                    ________________
   Case number         23-70022
                       ___________________________________________                                                  MM / DD / YYYY
    (If known)




 2IILFLDO)RUP 106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  ✔ No
                                                                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                  Yes. Fill out this information for            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                                        No
                                                                                             _________________________                ________
    names.                                                                                                                                              Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include                 ✔
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       800.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.     $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
 Debtor 1        MOSES    DOLZ
                 _______________________________________________________                                          23-70022
                                                                                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                    90.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                    70.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    50.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                            7.                    400.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     92.00
                                                                                                                     $_____________________
10. Personal care products and services                                                                       10.                    42.00
                                                                                                                     $_____________________
11. Medical and dental expenses                                                                               11.                    77.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    200.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                   100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $_____________________
      15b. Health insurance                                                                                   15b.   $_____________________
      15c. Vehicle insurance                                                                                  15c.                   79.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.    $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                  212.00
                                                                                                                     $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.   $_____________________

      20b. Real estate taxes                                                                                  20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________



2IILFLDO)RUP-                                             Schedule J: Your Expenses                                                   page 2
 Debtor 1        MOSES    DOLZ
                 _______________________________________________________                                               23-70022
                                                                                                Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  2,212.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  2,212.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,212.00
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                            0.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔
         No.
         Yes.     Explain here:




2IILFLDO)RUP-                                            Schedule J: Your Expenses                                                         page 3
